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                               men's split end hair trimmer


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    Price
       Up to $15                          2            The Lawn Mower             Wholesale split             Wholesale split end       Nanxi Led Hair             Vacuum Beard &              Bell + Howell
       $15 – $30                                       3.0 - Waterproof           ends trimmer,2              trimmer,2 Pieces          Trimmer Usb Split          Stubble Trimmer             Vacutrim Shaver
       $30 – $60                          era          Electric Trimmer b…        Pieces                                                End Cutter Hair an…        6000
       Over $60                                        $69.99                     $29.42                      $29.42                    $35.21                     $59.99                      $39.95
                                          d…           Manscaped                  Alibaba.com                 Alibaba.com               Walmart                    Remington                   VacuTrim
     $ Min       –     $ Max                                      (585)                                                                 Free shipping                       (180)
                                                       Free shipping                                                                                               Free shipping

    Type
                                                                                                                                                                                                    About these results
       Clippers
       Trimmers                               15% OFF
       Electric Razors



    Used For
       For Haircuts
       For Beard & Mustache
       For Body
       For Nose
       For Ears
       For Eyebrows


                                              Talavera Split-Ender Mini                    Cordless Hair Split Ends Trimmer         Split Ender MINI (Silver) Split End      Cordless Split End Hair Remover
    Department
                                              Cordless Split End and Damaged               Usb Charging Automatic Split             Hair Trimmer by Talavera                 Hair Trimmer for Dry Damaged
       Men's                                  Hair Trimmer Silver                          End Remover Damaged ...                  Unisex · Cordless · Trimmer              and Brittle ...
       Unisex                                 Unisex · Cordless · Trimmer                  Men's · Cordless · Trimmer                                                        Cordless · Trimmer
       Women's
                                              $79.95                                       $8.70                                    $79.95                                   $34.30
                                              Apply LUCKY15                                AliExpress.com                           Newegg.com - Split Ender PRO             AliExpress.com
    Brand
                                              ProStylingTools.com                          Free delivery                            Free delivery                            Free delivery
       Wahl                                   Free delivery by Tue, Apr 11
       Philips                                  Trusted store
       Panasonic
       Remington                                                                                                                        Quick checkout

       Andis
       Saturn
       BaByliss



    Color
       Stainless Steel
       Black
       Gold
       Silver
       Red
       Blue
       White
                                              Split-Ender Pro Cordless Salon               Get Today - Split Ender Pro 2 -          Electric Split Ends Trimmer              Perfectly Trim Off Hair Split Ends
                                              Hair Trimmer, Red                            Beauty | Color: Black                    Black                                    With Positioning Comb
    Kit Size
                                              5.0             4                                                                                                              Attachment
       1 pieces
                                              Unisex · Cordless · Trimmer
       2 pieces
       4 pieces
                                              $209.95                                      $150.00 Used                             $52.56                                   $11.25
       5 pieces                               Amazon.com - Seller                          Mercari                                  CatchMySwag                              eBay - chihyupi
       8 pieces                               Free delivery                                $10.99 delivery                          Free delivery by Wed, Apr 12             Free delivery
       10 pieces                                Trusted store
       14 pieces
                                                                                                                                                                                   Quick checkout
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       businesses



    Product rating
                       4 and up

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    Condition
       New items                  Split Ender Pro 2 Home                   Split Hair Trimmer for Dry                  Hair Split Ends Trimmer                 Kim Kimble Split Ends Hair
       Used items                 Professional Cordless Split End          Damaged and Brittle Professional            Professional Hair Clipper               Trimmer & Shaping Razor Comb -
                                  Hair Trimmer for Dry ...                 Automatic Split Ends ...                    Charging Wireless Hair Cutter ...       1 Each
    Shipping                      Unisex · Cordless · Trimmer              Cordless · Trimmer                          For Haircuts · Cordless                 Men's

       Free shipping
                                  $169.95                                  $35.45                                      $28.29                                  $10.58
                                  Amazon.com - Seller                      AliExpress.com                              AliExpress.com                          Walmart
    Seller                        Free delivery                            $4.02 delivery                              Free delivery                           $6.99 delivery · Free 90-day returns
                                    Trusted store                                                                                                                Trusted store · 4.4/5    (1.1K)
       Amazon.com - Seller
       Bonanza - Elegant Wings
                                  Compare prices from 4 stores
       DHgate online store
       eBay - boxedreturns
       Talavera Hair Products
       Temu
                                   Top features based on reviews
       Walmart - Joybuy

                More                                     Easy to clean                                      Long battery life                                    Easy to use




                                     Philips Trimmer, All-in-One,             Philips Norelco Multigroom 9000             Split Ender Pro Cordless Split End
                                     Multigroom 5000                          Prestige All-in-One Trimmer                 Hair Trimmer (Black)
                                     4.4             3,415                    4.5             2,999                       4.5             331
                                     For Body · For Ears · Men's              For Body · For Ears · Men's                 For Haircuts · Unisex




                                     $39.49                                   $68.10                                      $209.95
                                     Amazon.com - Seller                      Walmart - NLEX Express                      Amazon.com - Seller
                                     Free delivery                            Free delivery                               Free delivery

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                           Hair Split Ends Trimmer 3              Hair Trimmer Split End Remover     Split Ender Pro Cordless Split End   Split Ender Mini Split End Hair
                           Automatic Split End Remover            Dry Damaged and Brittle            Hair Trimmer (Black)                 Trimmer - Blue
                           Damaged Hair Repair Hair ...           Professional Automatic ...         4.5             331                  3.2             4
                           Trimmer                                Women's · Trimmer                  For Haircuts · Unisex                For Haircuts · Women's


                           $21.92                                 $7.99                              $209.95                              $89.95
                           AliExpress.com                         AliExpress.com                     Amazon.com - Seller                  Amazon.com - Seller
                           Free delivery                          Free delivery                      Free delivery                        Free delivery
                                                                                                       Trusted store                        Trusted store


                                                                                                     Compare prices from 5+ stores        Compare prices from 5+ stores




                           Nanxi Led Hair Trimmer Usb Split       Split End Trimmer Split Enders     Remington T-Series Detail            Split End Trimmer Split Ender
                           End Cutter Hair and Beard              Hair Split Ends Trimmer            Trimmer, Ultimate Precision          Split End Hair Split Ends Trimmer
                           Trimmer Hair Cutting ...               Automatic Split End ...            4.4             66                   Hair Bifurcated ...
                           For Beard & Mustache                   Trimmer                            For Ears · For Nose · Men's          Trimmer


                           $35.21                                 $19.23                             $17.96                               $25.99
                           Walmart - guangzhoushihuanandian…      AliExpress.com                     Amazon.com                           AliExpress.com
                           Free delivery                          Free delivery                      $5.99 delivery                       Free delivery
                                                                                                       Trusted store · 4.6/5   (3.1K)

                                                                                                     Compare prices from 10+ stores




                           Zero Gapped Cordless Hair              Hair Split Ends Trimmer Charging   Split Hair Trimmer for Dry           Hair Split Ends Trimmer Charging
                           Clipper for Men Professional Split     Professional Hair Cutter Smooth    Damaged and Brittle Automatic        Cordless · Trimmer
                           End Trimmer Barber ...                 End Cutting ...                    Split Ends Remover ...
                           For Beard & Mustache                   For Haircuts · Cordless            Cordless · Trimmer


                           $10.00                                 $18.09                             $28.20                               $100.00
                           AliExpress.com                         AliExpress.com                     AliExpress.com                       eCrater - tamara91
                           Free delivery                          $1.00 delivery                     Free delivery                        Free delivery




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                           Professional Split Ends Hair           Professional Split End Trimmer    Professional Hair Split Ends         AIKIN HTC Rechargeable Hair
                           Trimmer USB Charging Hair              for Men and Women Hair Cutter     Trimmer USB Charging Hair            Clipper for Men Lithium Battery
                           Clipper Solve Ends Smooth ...          Smooth End Cutting ...            Cutter Smooth End Cutting ...        Zero Gapped Facial ...
                           For Haircuts · Cordless                For Haircuts · Unisex             For Haircuts · Cordless              For Haircuts · Men's


                           $26.17                                 $25.50                            $26.50                               $15.34
                           AliExpress.com                         AliExpress.com                    AliExpress.com                       AliExpress.com
                           $2.92 delivery                         Free delivery                     Free delivery                        Free delivery




                           Professional Split Ends Trimmer        Professional Hair Split Ends      Panasonic - Men’s Body Groomer       Split End Trimmer hair
                           Charging Hair Cutter Smooth            Trimmer Charging Hair Cutter      and Trimmer with 2 Comb              straightener Split Remover Dry
                           End Cutting Clipper ...                Smooth End Cutting ...            Attachments - Black/Silver           Damaged and Brittle ...
                           For Haircuts · Cordless                For Haircuts · Cordless           4.4             224                  Women's · Trimmer
                                                                                                    For Body · Men's · Kit


                           $27.30                                 $27.42                            $58.80                               $24.88
                           AliExpress.com                         AliExpress.com                    Amazon.com                           AliExpress.com
                           Free delivery                          Free delivery                     Free delivery                        Free delivery
                                                                                                      Trusted store · 4.6/5     (3.1K)

                                                                                                    Compare prices from 5+ stores




                           Perfectly Trim Off Hair Split Ends     Professional Split Ends Hair      Split Ender Pro2 Fix Breakage, for   Hair with Positioning Off Split
                           with Positioning Comb                  Trimmer Automatic Trim Cordless   All Hair Type, Split End Hair        Attachment Tool Trim Perfectly
                           Attachment Clipper Tool ...            Cutting Wireless ...              Trimmer - Red                        Ends Comb Hair ...
                                                                  Cordless · Trimmer                Unisex · Trimmer · Red               For Haircuts · Men's


                           $6.60                                  $26.84                            $129.95                              $17.00
                           Walmart - Joybuy                       AliExpress.com                    Bonanza - Split-Ender Pro            Walmart - Best Amazonian acai LLC
                           Free delivery                          Free delivery                     Free delivery                        Free delivery
                             Trusted store




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                           Suttik Professional Hair Trimmer        Split Ender Pro Black              USB Rechargeable Split Hair           Split Ender Pro2 Black
                           for Barber, Beard Trimmer for           5.0             1                  Trimmer Hair Trimming                 4.2             19
                           Men, T-blade Hair ...                   For Haircuts · Unisex              Straightener Clipper Split Ends ...   For Haircuts · Cordless
                           4.7             6                                                          For Haircuts · Cordless
                           For Body · For Haircuts


                           $29.99                                  $180.00                            $30.16                                $309.95
                           Amazon.com - Seller                     eBay                               AliExpress.com                        eBay - haarkosmetik24
                           Free delivery                           Free delivery                      Free delivery                         $34.13 delivery
                             Trusted store

                                                                         Quick checkout                                                           Quick checkout
                           Compare prices from 10+ stores




                           Portable Automatic Hair Trimmer         BANGMENG Hair Cutter               Wahl Carbon Steel Clipper for         Split End Remover Hair Trimmer
                           Split Ends Removal Dry Damaged          Comb,Sharp Hair Razor              Men Professional Hair Timmer          Charging Hair Clipper
                           Brittle Home Hair ...                   Comb,Split Ends Hair               Magic Clip Cordless ...               Professional Hair Cutter ...
                           For Haircuts · Clipper                  4.6             9                  Men's · Cordless                      For Haircuts · Cordless


                           $36.19                                  $7.99                              $18.49                                $27.46
                           AliExpress.com                          Walmart - BANGMENG                 AliExpress.com                        AliExpress.com
                           Free delivery                           $6.99 delivery                     $16.77 delivery                       Free delivery



                                                                                                                                            LOW PRICE




                           Hsmqhjwe Men's Haircut Kit              Hair Split End Remover 5ml         Split Ender - New Beauty | Color:     BANGMENG Hair Cutter Comb
                           Perfectly Ends Comb Hair with           Electric Hair Clippers Household   Black                                 Shaper Hair Razor with Comb
                           Positioning Tool Trim ...               Adult                                                                    Split Ends Hair Trimmer ...
                           For Haircuts · Men's · Kit              For Haircuts · For Nose                                                  4.6             9


                           $10.22                                  $27.79                             $120.00                               $7.99
                           Walmart - Shenzhenshi Shenghelakej…     eBay - dunwant2                    Mercari                               $3.83 below typical
                           $2.11 delivery                          Free delivery                      $12.30 delivery                       Amazon.com - Seller
                                                                                                                                            $5.99 delivery
                                                                                                                                               Trusted store


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                           Wahls Designer split end trimmer     Wholesale Hair Clippers Trimmer,   4pcs Security Self-Service               Surrogate Shopping Asplittool
                           Trimmes Adult split end              2 Pieces, Cordless Rechargeable    Barber Peach Heart Remove The            Hair Split Trimmer Automatic
                           trimmerdresser Electric ...          Hair Cut New ...                   Split Ends Hair Clipper ...              Hairdressing Knife ...
                           For Haircuts · Clipper               For Haircuts · Men's · Kit


                           $138.45                              $23.14                             $8.65                                    $88.00
                           DHgate online store                  Alibaba.com                        Walmart - shang hai long li wang luo …   AliExpress.com
                           Free delivery                        $23.92 delivery                    Free delivery                            $31.58 delivery




                           Wahls Designer split end trimmer     Follure Haircut Machine            Wahls Designer split end trimmer         Philips Trimmer, All-in-One,
                           Trimmes Electric split end           Rechargeable -Trimmer Hair for     Trimmes Electric Wall Adult split        Multigroom 5000
                           trimmerdresser Wall ...              USB Electric Small ...             end ...                                  4.4             3,415
                           For Haircuts · Clipper               Men's · Cordless · Black           For Haircuts · Clipper                   For Body · For Ears · Men's


                           $131.74                              $32.60                             $112.70                                  $39.49
                           DHgate online store                  Walmart - Joybuy                   DHgate online store                      Amazon.com - Seller
                           Free delivery                        Free delivery                      Free delivery                            Free delivery
                                                                  Trusted store                                                               Trusted store


                                                                                                                                            Compare prices from 10+ stores




                           Microtouch Titanium Trim             Trimmer for Men by Supreme         Women Split End Hair Trimmer             USB Rechargeable Split Hair
                           3.3             294                  Trimmer - ST5200 Professional      Cordless Hair cutting machine            Trimmer Hair Trimming
                           For Body · For Haircuts              Barber Hair Trimmer ...            Remover Dry Damaged ...                  Straightener Split Ends Cutter ...
                                                                5.0             6                  Women's · Cordless · Trimmer             Cordless · Trimmer
                                                                For Beard & Mustache


                           $29.99                               $39.95                             $27.29                                   $28.06
                           CVS Pharmacy                         Amazon.com - Seller                AliExpress.com                           AliExpress.com
                           $5.49 delivery                       Free delivery                      Free delivery                            Free delivery
                             Trusted store · 4.5/5   (329)        Trusted store

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                           Htovila Hair Cutter Professional        Microtouch Titanium Trim                  Wahl HomeCutCombo HomeCut               Electric Hair Trimmer Self-Cut
                           Hair Trimmer Men Rechargeable           3.3              294                      Combo                                   Haircutting Kit USB Charging
                           Electric Powerful ...                                                             4.5               152                   Slicked-back Hair ...


                           $13.23 · Was $23.98                     $20.00 · Was $25.00                       $17.59 · Was $21.99                     $27.55 · Was $43.13
                           Walmart - World Deal                    eBay - roanokecc                          eBay - specialfinds20                   Walmart - US DEALS
                           Free delivery                           Delivery by Fri, Apr 7                    Delivery by Fri, Apr 7                  Free delivery


                            SALE                                   SALE                                          SALE                                SALE




                           Styleader Hair Trimmer for Men,         Aibecy Battery Display Hair               MOTLATA Professional Hair               VGR Multifunction Beard, Hair
                           Women, Kids, Rechargeble                Cutter Professional USB Hair              Clipper for Men Electric Hair           Clipper Trimmer Combs,
                           Clippers, Red                           Trimmer Men Rechargeable ...              Trimmer T-Blade Trimmer ...             Professional Grooming Kit ...


                           $27.99 · Was $39.99                     $14.09 · Was $21.59                       $51.47 · Was $65.99                     $26.95 · Was $39.95
                           Amazon.com - Seller                     Walmart - Superior Central                Amazon.com - Seller                     Walmart - Luckybay Inc
                           Free delivery                           Free delivery                             Free delivery                           Free delivery



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                             For Haircuts          For Beard &           For Body           For Nose                For Ears          For Eyebrows
                                                    Mustache


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                                   Men's             Clipper        Electric Razor              Trimmer          Stainless Steel         Gold               Silver            Red




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                               Split Ender PRO2            Cordless Split End         MicroTouch                Talavera Split-Ender   Talavera Split-Ender   split end trimmer       W
                               Trimmer For Dry,            Hair Trimmer               Titanium Head             PRO Cordless Split     Mini Cordless Split    Trimmes Outlet          pl
                               Damaged and…                                           Shaver | The Faste…       End and Damaged…       End and Damaged…       Designer Wahlsspl…      tr
                               $149.95                     $159.99                    $59.98                    $199.95                $79.95                 $112.70                 $3
                               Talavera Hair Prod…         SharperImage               Official Titanium H…      ProStylingTools.co…    ProStylingTools.co…    DHgate online store     A
                               Free shipping                        (331)             Free shipping             Free shipping          Free shipping          Free shipping
                               Special offer               Special offer                                        Special offer          Special offer




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